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          IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF ALABAMA
                    SOUTHERN DWISIQN.
                                      . CE V ED
   KACEY HARPER,                 CI&CTIONNO. I 1v-72J- Luk)
               Plaintiff,                23 P 2: 3
                                             DEBRA P. HACKETT, C L K
         Lto                                  U.S. OSTRJC1 COURT
                                               @DLE DI S TRICT ALA

   HOUSTON COUNTY BOARD OF
   EDUCATION, a local education
   authority;
   TIM PITCHFORD, MARSHA
   SHELLEY, and BRANDY WHITE,
   each in his/her individual capacity,     JURY TRIAL DEMANDED
                     Defendants.


                              COMPLAINT
         1. This is a civil action seeking monetary damages and
injunctive relief against the several Defendants. This action arises under
the First and Fourteenth Amendments to the United States Constitution
and 42 U.S.C. §1983 and 1988. Jurisdiction of this matter is in this court
pursuant to 28 U.S.C. §1331 and 1343.
                                 PARTIE.s

         2. Plaintiff KACEY HARPER is an adult citizen of the United
States and a resident of Houston County, Alabama.
         3. Defendant HOUSTON COUNTY BOARD OF EDUCATION
is a local education agency established in accordance with Ala. Code §16-
8-1 et seq.



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         4. TIM PITCHFORD served as Houston County Super-
intendent of Education and an agent of the BOARD from 2005 until the
end of December 2016. He is sued in his individual capacity only.
        5. MARSHA SHELLEY was (at all times pertinent to this
complaint) the principal of Webb Elementary School in the Houston
County School System and an agent of the BOARD. She is sued in her
individual capacity only.
        6. BRANDY WHITE was (at all times pertinent to this
complaint) the assistant principal of Webb Elementary School in the
Houston County School System and an agent of the BOARD. She is sued
in his individual capacity only.
                                   FACTS

        7. As will be more fully explained below, Plaintiff HARPER is a
well-qualified third-grade teacher with three years of experience in the
Houston County School System. Defendant MARSHA SHELLEY
recommended before the end of HARPER's third year of teaching that
HARPER's contract not be renewed, thereby ending her employment and
depriving her of tenure (a status which HARPER would have had but for
the non-renewal of her contract). Defendant TIM PITCHFORD in turn
recommended to the BOARD that it non-renew HARPER. The BOARD
accepted the recommendation. The evidence will show that SHELLEY
made the recommendation to non-renew based on one or both of the
following reasons:




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                 a. that HARPER had refused to support Matt Swann,
SHELLEY's preferred candidate for County School Superintendent in
the 2016 Republican Primary; or
                 b. that HARPER had given truthful testimony before an
Alabama State Board of Education (hereafter "SDE") investigator looking
into a charge that Webb Elementary School teachers had violated
standardized testing protocol.
     8. At the time of her employment with the HOUSTON COUNTY
BOARD OF EDUCATION, Plaintiff HARPER had a Bachelor of Science
in Elementary Education, K-6 from Troy University, Dothan, AL       (2008).

She had received excellent evaluations while employed by the Houston
County Schools.
                          [Political Discrimination]
            9. Defendant SHELLEY supported Swann in the Republican
Primary. She sent out letters from her residence asking for support for
Swann. Some of the letters were sent to Webb Elementary students'
families.
            10. Defendant WHITE was one of the campaign managers for
Matt Swann's campaign for the Republican nomination for Houston
County School Superintendent. On the day of the Republican Primary       0
March 2016), WHITE took a day of leave from work and volunteered as
a driver for the Swann campaign's get-out-the-vote drive.
            11. On or about 1 May 2015 (nine months before the primary),
Defendant WHITE asked Plaintiff HARPER and her husband to


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distribute flyers for Swann's campaign at a high school graduation at the
Dothan Civic Center. Ms. HARPER refused.
         12. On or about 1 August 2015, WHITE asked Plaintiff
HARPER and her husband to hand out flyers for Swann's campaign
during an Ashford High School football game. Both HARPERS refused.
         13. On or about 21 November 2015, WHITE asked HARPER if
she would work at a PTO rummage sale fund raiser where volunteers
would be wearing Swann campaign t-shirts. HARPER did not volunteer;
she felt WHITE was pressuring her to participate in the Swann
campaign.
                        IA CTAspire Investigation]
         14. During the 2015-16 school year, all school systems in
Alabama used the ACT Aspire test which (according to ACT.org)
"measures readiness in English, math, reading, science, and writing from
the elementary grades through early high school (grades 3-10)." At Webb
Elementary School, faculty members attended a "professional
development" program about the ACT Aspire on or about 28 September
2015.
         15. The ACT Aspire test was held in April 2016. Afew days after
ACT Aspire testing, Supt. PITCHFORD held a faculty meeting at Webb
Elementary. He said that one anonymous phone call was received by the
Central Office the Friday before testing and another call to Central Office
the Monday of testing week. The caller made the claim that Webb




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Elementary "cheated" on the ACT Aspire. PITCHIFORD stated he had
informed the SDE.
         16. A representative of the SDE and Cas Haddock, the Student
Assessment Coordinator of the HOUSTON COUNTY BOARD,
interviewed teachers of the 3rd through 6th grades, one by one. Those
teachers were directed to report for an interview at a scheduled time.
The investigators told HARPER that anything discussed during
questioning would remain confidential. HADDOCK asked to tape record
the conversation; HARPER consented.
         17. During the interview, HARPER answered the interviewers'
questions and told them that, during professionaldevelopment training
(on 28 September 2015) about ACT Aspire, Brandi Paramore, the school's
math coach, presented math exemplars and commented regarding some
exemplars, "That was on the test." When questioned further, HARPER
explained, "To me it seemed when the exemplar appeared on the screen
at the workshop she [Paramorel had seen that question on the ACT
Aspire at some time."
        18. The Alabama Educator Code of Ethics provides specifically
that unethical conduct, for which a teacher may face disciplinary action
up to and including the revocation of her teaching certificate, includes
"Falsifying, misrepresenting, omitting, or erroneously reporting
information submitted in the course of an official inquiry or
investigation." Thus, Plaintiff faced disciplinary action had she provided
false testimony to SDE.


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         19. Cas Haddock told SHELLEY the substance of HARPER's
statement.
         20. Brandi Paramore is the niece of SHELLEY.
                                 [Discharge]
         21. The usual procedure for non-renewal of nontenured teachers
in the Houston County Schools is (a) recommendation by the Principal to
the Superintendent, (b) recommendation by the Superintendent to the
Board, and (c) a vote by the Board accepting the Superintendent's
recommendation. While steps (b) and (c) are required by A./a. Code p16-
24C-5(c), it is custom and policy of the Houston County Schools that the
recommendation of the principal for non-renewal is always followed by
the Superintendent. It is also the custom and policy of the Board to
approve the recommendation of the Superintendent for non-renewal of a
nontenured teacher.
        22. On information and belief, SHELLEY and WHITE shared
information about which teachers and staff had volunteered for the
Swann campaign and which had refused to do so.
        23. SHELLEY also consulted with WHITE regarding the
teaching ability, demeanor, and participation in school-related activities.
        24. In response to HARPER's question (on or about 10 May
2016) about renewal of her contract, SHELLEY told HARPER, "We are
kicking the can around" about personnel changes. SHELLEY's "we"
referred to WHITE and herself.
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         25. On information and belief, the BOARD did not reject a
recommendation by PITCHFORD regarding the non-renewal of a non-
tenured teacher during his entire term as superintendent.
         26. SHELLEY recommended the non-renewal of HARPER to
PITCHFORD because of SHELLEY's animus toward HARPER for one or
both of the following two reasons:
              a. not supporting Swann, and/or
              b. for disclosing Paramore's statement about the contents
of the ACT Aspire math test to the Department of Education investigator.
         27. PITCHFORD recommended the non-renewal of HARPER to
the BOARD OF EDUCATION because his policy and practice of passing
along to the BOARD any principal's recommendations for non-renewal of
a nontenured teacher, without making any investigation of the facts and
circumstances of the teacher's competence and ability.
        28. The BOARD accepted the recommendation of PITCHFORD
and voted to non-renew HARPER without inquiring into or obtaining the
facts and circumstances of HARPER's competence and ability to teach.
        29. Had SHELLEY, PITCHFORD, and the BOARD simply
refrained from acting on HARPER's employment, she would have
obtained tenure as a matter of law pursuant to Ala. Code §16-24C-5. No
overt action was required. She also would have received a step increase
on the salary schedule for the next school year, as she would have started
her fourth year of public school teaching.




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         30. PITCHFORD informed HARPER of her termination on 20
May 2016 and gave her the letter of non-renewal.
              [Qualified Immunity of the Individual Defendants]
         31. To the extent that the individual DEFENDANTS invoke the
protection of qualified immunity, such protection is not available in the
present case.
         32. At the time of the events described in this Complaint, it was
clearly established that it was unlawful to retaliate and/or discriminate
against a government employee such as HARPER for providing
testimony or information to a Department of Education investigator, as
she did in this matter. Such law was clearly established by, for example,
Lane v. Franks, 573 U.S. ----, 134 S.Ct. 2369, 2379, 189 L.Ed.2d 312
(2014) ("The critical question ... is whether the speech at issue is itself
ordinarily within the scope of an employee's duties, not whether it merely
concerns those duties....").
         33. At the time of the events described in this Complaint, it was
clearly established that it was unlawful to retaliate and/or discriminate
against a government employee such as HARPER for supporting a
candidate for Superintendent. Such law was clearly established by, for
example, Branti v. Finkel, 445 U.S. 507, 515-518 (1980); Elrod v. Burns,
427 U.S. 347, 368, 362 (1976); Rutan v. Republican Party of Illinois, 497
U.S. 62, 72-73(1990); Heffernan v. CityofPaterson,N.J., --- U.S. ----, 136
S.Ct. 1412, 1419 (2016); and Randall v. Scott, 610 F.3d 701, 713 (11th
Cir. 2010).


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         34. At the time of the events described in this Complaint, it was
clearly established that, when an employer's agent possessing a
discriminatory motive and inducing the formal decisionmaker to "rubber
stamp" the decision desired by the agent, both the agent and the rubber-
stamping superior are each liable to the employee. This is the
"subordinate bias" (or "cat's paw") theory. Such law was clearly
established by, for example, Staub v. Proctor Hosp., 562 U.S. 411, 419,
421 (2011); Stimpson v. City of Tuscaloosa, 186 F. 3d 1328, 1331-32 (11th
Cir. 1999); Liampallas v. Mini-Circuits, Lab, Inc., 163 F.3d 1236, 1249
(11th Cir. 1998).
        35. As such, any reasonable education official in the position of
the individual DEFENDANTS would have understood that the
retaliatory and discriminatory actions towards HARPER violated her
First Amendment rights, and the preexisting law clearly established the
unlawfulness of such actions.
                                [Damages]
        36. Plaintiff HARPER has suffered a loss in pay and a loss of job
security (tenure) because of her discharge by the HOUSTON COUNTY
BOARD OF EDUCATION. She was able to obtain a job out-of-state at
less pay, with less generous health and retirement benefits, and less job
protection than her position in Houston County.
        37. Plaintiff HARPER has experienced the type of mental
anguish, embarrassment, anger, frustration, disappointment, regret,
despair, loss of enjoyment of life, and disruption of her peace of mind as
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a result of DEFENDANTS' unlawful conduct which any reasonable
person would have suffered under like circumstances.
                                  CLAIMS

        38. The actions of the DEFENDANTS set forth above violated
Plaintiff HARPER's right to freedom of speech and freedom of association
as guaranteed by the First and Fourteenth Amendments to the United
States Constitution.
        39. Defendant HOUSTON COUNTY BOARD OF EDUCATION
is liable for the violation of Plaintiff HARPER's rights as set forth above
because the members of the BOARD (and the Superintendent) are the
persons who, pursuant to Ala. Code §16-8-23, 16-9-23, and 1624C-5
have the final authority to make and execute employment policy on
behalf of the Houston County School District.
               a. Ala. Code §16-8-23 provides in pertinent part, "The
county board of education shall appoint, upon the written
recommendation of the county superintendent, all principals, teachers,
clerical and professional assistants authorized by the board."
               b. Ala. Code §16-9-23 also provides in pertinent part, "The
county superintendent of education shall nominate in writing for
appointment by the county board of education all principals, teachers
and all other regular employees of the board"
            c. Ala. Code §16-24C-5(c) also provides in pertinent part,
"Probationary teachers ... may be terminated at the discretion of the
employer upon the written recommendation of the chief executive officer


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 [superintendent], a majority vote of the governing board, and issuance
 of written notice of termination to the teacher on or before the fifteenth
 day of June."
         40. The unlawful employment practices complained of and the
actions of DEFENDANTS and/or their agents were intentional and with
malice or with reckless indifference to Plaintiff HARPER's statutory and
Constitutional rights, entitling Plaintiff HARPER to damages in the form
of compensatory damages and punitive damages to punish the
individual-capacity DEFENDANTS for their actions and to deter them,
and others, from such actions in the future.
                            PRAYER FOR RELIEF

        41. WHEREFORE, Plaintiff HARPER prays for judgment
against the DEFENDANTS as follows:
                 a. Order the HOUSTON COUNTY BOARD OF
EDUCATION to pay the PLAINTIFF's lost salary and benefits for her
former teaching position for the 2016-2017 and 2017-2018 school years
and each school year through the date of trial, plus interest on such sums;
                 b. Award compensatory damages to be paid by the BOARD
and all individual-capacity DEFENDANTS, jointly and severally, in an
amount proved at trial;
                 c. Order the HOUSTON COUNTY BOARD OF
EDUCATION to pay a lump sum award of future lost earnings as an
alternative to reinstatement;




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              d. Award punitive damages against each individual-
capacity DEFENDANT in an amount proved at trial;
              e. Enjoin all DEFENDANTS, their agents, servants, and
employees from basing any adverse action (for example, but not limited
to, reports on HARPER's past performance) to other (current,
prospective, or future) employers upon her exercise of First Amendment
rights while employed by the HOUSTON COUNTY BOARD OF
EDUCATION;
              f. Grant equitable relief to cure the continuing effects of the
DEFENDANTS' discharge on PLAINTIFF's employment record.
              g. Enjoin all DEFENDANTS, their agents, servants, and
employees from retaliating or otherwise taking adverse action against
HARPER in her capacity as a parent with a soon-to-be school-aged child
who resides within the DEFENDANTS' district, including, but not
limited to, denying HARPER's imminent request for a zoning variance
for next school year, and the years beyond, so that her child will not be
required to attend any school at which any DEFENDANT is employed;
              h. Tax the costs of this action against all DEFENDANTS;
              i. Award reasonable attorneys' fees to PLAINTIFF; and
             j. Award such other relief as the court deems fair and
appropriate under the circumstances.




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                                    /s/ Edward Still
OliIt Daughtréy ,/         0        Edward Still, Esquire
General Couns"                      429 Green Springs Hwy.
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                      JURY TRIAL DEMANDED




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                           UNITED STATES DISTRICT COURT                                                      'r   S''
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                        FOR THE MIDDLE DISTRICT OF ALABAMA
                             Southern               DIVISION                                           23 P 2:41
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                                                                                           EERP P. CETTCLK
                                                                                              OSTFCT COURT
                                   CERTIFICATE OF SERVICE                                          STC LA



        1,  Clint DaugI1trey, E:s q uire                          , do hereby Certify that a true and
correct copy of the foregoing has been furnished by    Certified Mail, Return Receipt Requested (manner of

service, i.e., U.S. Mail, electronic mail, etc.) on this 22      day of October               2O1' to:


                Houston County Board of Education; David Swell, Superintendent of

                 Schools; Tim Pitchford; Marsha Shelley and Brandy White.




 October 23,
Date
